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                          In the Matter Of:

    JOE HOLCOMBE vs UNITED STATES OF AMERICA
                               5:18 CV 00555 XR




                             JAMES HOY

                           January 07, 2020
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·1· · · · please?
·2· ·BY MR. WEBSTER:
·3· · Q· · Let me break it down for you.
·4· · · · · · · · · We are assuming -- would you agree
·5· ·with me sir, when you did not submit a felon's
·6· ·fingerprints in the Air Force, you did not submit a
·7· ·felon's fingerprints to the NCIS database, that that
·8· ·creates an increased risk of harm to the public in
·9· ·general?
10· · · · · · ·MR. FURMAN:· Objection to form.· You can
11· · · · answer.
12· · · · · · ·THE WITNESS:· In general.
13· ·BY MR. WEBSTER:
14· · Q· · And it creates an increased risk of harm
15· ·because that person, it doesn't show up in any other
16· ·system, at least in public life, outside of the
17· ·military that you are a convicted felon?
18· · A· · Yes.
19· · Q· · That allows you to continue to operate as just
20· ·a normal individual citizen with all of the rights
21· ·of any of the others, correct?
22· · · · · · ·MR. FURMAN:· Objection; form.
23· · · · · · ·THE WITNESS:· Essentially.
24


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·1· ·have had a high risk for violence meeting and came
·2· ·up with the plan on what to do with Devin Kelley for
·3· ·the safety of the base.
·4· · Q· · At this point in time when you are reading
·5· ·these things or know of this on May 3, 2012, does
·6· ·this cause a high alert?· What was the thing you
·7· ·called it?
·8· · A· · High risk for violence meeting.
·9· · Q· · Would you agree with me as of May 3, 2012 he
10· ·was a high risk for violence?
11· · A· · Yes.
12· · Q· · So the Air Force knew that he could commit a
13· ·mass shooting, didn't they?
14· · · · · · ·MR. FURMAN:· Objection to form.
15· · · · · · ·THE WITNESS:· I believe there is clearly
16· · · · evidence that suggests he could do a mass
17· · · · shooting, and that was reported.
18· ·BY MR. WEBSTER:
19· · Q· · Would you agree with me if you have
20· ·knowledge -- if the Air Force has knowledge that
21· ·someone like Kelley, at least as of May 3, 2012 has
22· ·knowledge that he could commit a mass shooting, they
23· ·should do everything in their power to make sure
24· ·that man does not get a gun?


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·1· ·BY MR. WEBSTER:
·2· · Q· · That's alarming, isn't it?
·3· · A· · Yes.
·4· · Q· · Normal people, sane individuals, do not
·5· ·threaten to go to work with a shotgun and kill
·6· ·everybody they work with?
·7· · A· · Yes.
·8· · Q· · My question is simple:· It's foreseeable to
·9· ·the Air Force, based on that knowledge, that later
10· ·on if Kelley has a shotgun or any gun, he could
11· ·commit a mass shooting?
12· · · · · · ·MR. FURMAN:· Same objection.
13· · · · · · ·THE WITNESS:· It's foreseeable.
14· ·BY MR. WEBSTER:
15· · Q· · I would like for you to turn to 13451, sir.                   I
16· ·want to ask you a couple of questions.· This is on
17· ·June 8, 2012, correct?
18· · A· · Yes.
19· · Q· · This is a subject interview, and it looks like
20· ·Special Agent Greg Harper and Special Agent Clinton
21· ·Mills interviewed subject Devin Kelley.· Do you see
22· ·that?
23· · A· · Yes.
24· · Q· · Were you still there on June 8?


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·1· · · · · · · · · · · ·CERTIFICATE

·2· ·State of Ohio· · ·:
· · · · · · · · · · · · ·SS:
·3· ·County of Franklin:

·4

·5· · · · · · ·I, Laura S. Benton, Notary Public in and

·6· ·for the State of Ohio, duly commissioned and qualified,

·7· ·certify that the within named James Hoy was by me

·8· ·duly sworn to testify to the whole truth in the cause

·9· ·aforesaid; that the testimony was taken down by me in

10· ·stenotype in the presence of said witness, afterwards

11· ·transcribed upon a computer; that the foregoing is

12· ·a true and correct transcript of the testimony given

13· ·by said witness taken at the time and place in the

14· ·foregoing caption specified.

15· · · · · · ·I certify that I am not a relative, employee,

16· ·or attorney of any of the parties hereto, or of any

17· ·attorney or counsel employed by the parties, or

18· ·financially interested in the action.

19· · · · · · ·IN WITNESS WHEREOF, I have set my hand and

20· ·affixed my seal of office at Columbus, Ohio, on this

21· ·20th day of January , 2020.

22
· ·   · · · · · · · · · ·________________________________
23·   · · · · · · · · · ·LAURA S. BENTON, Notary Public
· ·   · · · · · · · · · ·in and for the State of Ohio
24
· ·   ·My Commission expires December 12, 2023


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